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 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,            )   Case No. 2:16-CR-00067 JAM
                                          )
12                      Plaintiff,        )
                                          )
13        v.                              )
                                          )
14   HECTOR GONZALEZ,                     )
                                          )
15                      Defendant.        )
                                          )   RELATED CASE ORDER
16   UNITED STATES OF AMERICA,            )
                                          )
17                      Plaintiff,        )
                                          )   Case No. 2:18-CR-00115 MCE
18        v.                              )
                                          )
19   HECTOR GONZALEZ,                     )
                                          )
20                      Defendant.        )
                                          )
21

22        Examination of the above-entitled actions reveals that these

23   actions are related within the meaning of Local Rule 123 (E.D. Cal.

24   2005).    Accordingly, the assignment of the matters to the same

25   judge is likely to affect a substantial savings of judicial effort

26   and is also likely to be convenient for the parties.

27        The parties should be aware that relating the cases under

28   Local Rule 123 merely has the result that these actions are


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 1   assigned to the same judge; no consolidation of the actions is

 2   effected.    Under the regular practice of this court, related cases

 3   are generally assigned to the judge to whom the first filed action

 4   was assigned.

 5        IT IS THEREFORE ORDERED that the action denominated Case No.

 6   2:18-CR-00115 MCE be reassigned to Judge John A. Mendez for all

 7   further proceedings, and any dates currently set in this reassigned

 8   case only are hereby VACATED.      Henceforth, the caption on documents

 9   filed in the reassigned cases shall be shown as Case No. 2:18-CR-

10   00115 JAM.

11        IT IS FURTHER ORDERED that the Clerk of the Court make

12   appropriate adjustment in the assignment of criminal cases to

13   compensate for this reassignment.

14        IT IS SO ORDERED.

15   Dated:   June 29, 2018

16                                           /s/ John A. Mendez_____________

17                                           U. S. District Court Judge

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